Case 23-13359-VFP   Doc 1310-2 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit B Page 1 of 15




        EXHIBIT B
Case 23-13359-VFP   Doc 1310-2 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit B Page 2 of 15
Case 23-13359-VFP   Doc 1310-2 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit B Page 3 of 15
Case 23-13359-VFP   Doc 1310-2 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit B Page 4 of 15
Case 23-13359-VFP   Doc 1310-2 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit B Page 5 of 15
Case 23-13359-VFP   Doc 1310-2 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit B Page 6 of 15
Case 23-13359-VFP   Doc 1310-2 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit B Page 7 of 15
Case 23-13359-VFP   Doc 1310-2 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit B Page 8 of 15
Case 23-13359-VFP   Doc 1310-2 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit B Page 9 of 15
Case 23-13359-VFP   Doc 1310-2 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit B Page 10 of 15
Case 23-13359-VFP   Doc 1310-2 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit B Page 11 of 15
Case 23-13359-VFP   Doc 1310-2 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit B Page 12 of 15
Case 23-13359-VFP   Doc 1310-2 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit B Page 13 of 15
Case 23-13359-VFP   Doc 1310-2 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit B Page 14 of 15
Case 23-13359-VFP   Doc 1310-2 Filed 07/11/23 Entered 07/11/23 16:46:21   Desc
                           Exhibit B Page 15 of 15
